                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:

Omar Abu-Hamdan,                                     Case No. 15-56833-TJT
                                                     Chapter 7
                     Debtor.                         Hon. Thomas J. Tucker
________________________________/

                    TRUSTEE’S MOTION FOR ORDER
                  AUTHORIZING INTERIM DISTRIBUTION

                                    Jurisdiction

         1.   The Trustee brings this motion under 11 U.S.C. §§ 105 and 724; Fed.

R. Bankr. P. 3009, and 9014; and L.B.R. 2016-1 (E.D.M.).

         2.   This is a core proceeding over which this Court has jurisdiction. See

28 U.S.C. §§ 157(b)(2)(A) and 1334.

                                    Background

         3.   Omar Abu-Hamdan filed a petition for relief under Chapter 7 of the

U.S. Bankruptcy Code on November 18, 2015. Mark H. Shapiro was appointed the

Chapter 7 Trustee for the Debtor’s bankruptcy estate.

         4.   The Trustee has collected $211,608.57 from the administration of

assets in this case, including $48,000 from a global settlement approved by the

Court on August 30, 2017. There remains a balance of $16,000 due on the global

settlement that is being paid in regular, monthly installments of $4,000.



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         5.    The bankruptcy estate currently has a balance on hand of

$142,676.79. In addition to the balance due on the global settlement, the Trustee

expects to collect additional funds through the liquidation of real property in

Lebanon. Trustee’s special counsel in Lebanon continues to work towards the

liquidation of the real property located there; however, a number of delays have

held up the liquidation process.

         6.    The deadline for filing claims against the bankruptcy estate expired on

July 5, 2016. The claims filed against the estate include the following Chapter 7

administrative claims and unsecured claims:



 Claim        Claimant                  Classification Claim               Proposed
 Nos.                                                  Amount              distribution
              United States             Ch. 7 Admin. $1,050.00             $1,050.00
              Bankruptcy Court
              (deferred court costs)
 1            Mr. Riad Al-Awar          Unsecured            $263,013.20 $93,366.42

 2            Discover Bank             Unsecured            $10,095.39    $3,583.74

 3            American InfoSource       Unsecured            $2,987.50     $1,060.53
              LP as agent for First
              Data Global Leasing
 4            Capital One Bank          Unsecured            $19,221.11    $6,823.26
              (USA), N.A.
 5            American Express          Unsecured            $1,825.75     $648.12
              Centurion Bank
 6            Portfolio Recovery        Unsecured            $14,923.14    $5,297.53
              Associates, LLC



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 7            Weisman, Young &          Unsecured            $37,101.01    $13,170.40
              Ruemenapp, P.C.
 8*           Dyck-O-Neal, Inc.         Unsecured            $50,067.73    $0.00


*Tardily filed claim

                                  Interim Distribution

         7.    In a Chapter 7 case, dividends to creditors shall be paid as promptly as

practicable. See Fed. R. Bankr. P. 3009.

         8.    As indicated above, the estate has sufficient funds to make a

meaningful distribution to creditors. The Trustee believes that an interim

distribution is appropriate at this time.

                                    Relief Requested

         The Trustee respectfully requests that this Court enter an order authorizing

an interim distribution of estate funds, and granting such further relief as this Court

deems appropriate.



                                                     /s/ Mark H. Shapiro (P43134)
                                                     Chapter 7 Trustee
                                                     25925 Telegraph Rd., Suite 203
                                                     Southfield, MI 48033
                                                     (248) 352-4700
                                                     shapiro@steinbergshapiro.com
Date: August 23, 2018




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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

In re:

Omar Abu-Hamdan,                                        Case No. 15-56833-TJT
                                                        Chapter 7
                     Debtor.                            Hon. Thomas J. Tucker
________________________________/

               ORDER AUTHORIZING INTERIM DISTRIBUTION

         This matter is before the Court on the Trustee’s motion. Interested parties

were served with notice of the motion, and no objections were timely filed.

         IT IS ORDERED as follows:

         A.    The Trustee’s motion is granted.

         B.    The Trustee may distribute $125,000 from the estate trust account to

pay the proposed distributions indicated below:

 Claim              Claimant                           Claim          Proposed
 Nos.                                                  Amount         distribution
                    United States Bankruptcy Court     $1,050.00      $1,050.00
                    (deferred court costs)
 1                  Mr. Riad Al-Awar                   $263,013.20    $93,366.42

 2                  Discover Bank                      $10,095.39     $3,583.74

 3                  American InfoSource LP as agent $2,987.50         $1,060.53
                    for First Data Global Leasing
 4                  Capital One Bank (USA), N.A.    $19,221.11        $6,823.26

 5                  American Express Centurion         $1,825.75      $648.12
                    Bank



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6                  Portfolio Recovery Associates,         $14,923.14     $5,297.53
                   LLC
7                  Weisman, Young & Ruemenapp,            $37,101.01     $13,170.40
                   P.C.




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                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:

Omar Abu-Hamdan, xxx-xx-1081                         Case No. 15-56833-TJT
12326 Willoway                                       Chapter 7
Plymouth, MI 48170                                   Hon. Thomas J. Tucker

                     Debtor.
________________________________/

                 NOTICE OF TRUSTEE’S MOTION FOR ORDER
                   AUTHORIZING INTERIM DISTRIBUTION

Chapter 7 Trustee Mark H. Shapiro has filed a motion seeking authority to use
$125,000 of the $142,676.79, in estate funds to pay Chapter 7 administrative
deferred court costs of $1,050 and make a pro-rata distribution to timely-filed,
general-unsecured claims. The Trustee has collected $211,608.57 from the
administration of assets in this case, including $48,000 from a global settlement
approved by the Court on August 30, 2017. There remains a balance of $16,000
due on the global settlement that is being paid in regular, monthly installments of
$4,000. The bankruptcy estate currently has a balance on hand of $142,676.79. In
addition to the balance due on the global settlement, the Trustee expects to collect
additional funds through the liquidation of real property in Lebanon. Trustee’s
special counsel in Lebanon continues to work towards the liquidation of the real
property located there; however, a number of delays have held up the liquidation
process.

The deadline for filing claims against the bankruptcy estate expired on July 5,
2016. The claims filed against the estate include deferred court costs of $1,050 and
timely filed general unsecured claims totaling $349,167.10. The Trustee seeks to
pay the deferred court costs and make a pro-rata distribution to creditors with
timely-filed, general-unsecured claims.

Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not
have an attorney, you may wish to consult one.)




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If you do not want the Court to grant the Trustee’s motion, or if you want the Court
to consider your views on the motion, then on or before 14 days from the date of
service of this notice, you or your attorney must:

File with the Court a written objection or request for hearing at: 1

Intake Office
U.S. Bankruptcy Court
211 West Fort Street
Detroit, Michigan 48226

If you mail your response to the Court for filing, you must mail it early enough so
the Court will receive it on or before the 14 day period expires. All attorneys are
required to file pleadings electronically.

You must also send a copy to:

Tracy M. Clark, Esq.
Steinberg Shapiro & Clark
25925 Telegraph Rd., Suite 203
Southfield, Michigan 48033

If a response or answer is timely filed and served, the clerk will schedule a hearing
on the motion and you will be served with a notice of the date, time, and location
of the hearing.

If you or your attorney do not take these steps, the Court may decide that you
do not oppose the relief sought in the motion and may enter an order granting
that relief.


                                                        /s/ Mark H. Shapiro (P43134)
                                                        Chapter 7 Trustee
                                                        25925 Telegraph Rd., Suite 203
                                                        Southfield, MI 48033
                                                        (248) 352-4700
                                                        shapiro@steinbergshapiro.com
Date: August 23, 2018

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    Objection or request for hearing must comply with Fed.R.Civ.P. 8(b), (c), and (e).

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                            SOUTHERN DIVISION

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Omar Abu-Hamdan,                                        Case No. 15-56833-TJT
                                                        Chapter 7
                     Debtor.                            Hon. Thomas J. Tucker
________________________________/

                             CERTIFICATE OF SERVICE

         I certify that on August 23, 2018, I served copies as follows:

 Document Served:            Notice of Trustee’s Motion for Order Authorizing Interim
                             Distribution

 Served Upon:                Omar Abu-Hamdan
                             12326 Willoway
                             Plymouth, MI 48170

                             All creditors with timely filed and allowed proofs of
                             claim (See L.B.R. 2002-4)

 Method of Service:          First Class Mail


                                                  /s/ Ilene A. Harmon, Trustee Assistant
                                                  25925 Telegraph Rd., Suite 203
                                                  Southfield, MI 48033
                                                  (248) 352-4700
                                                  shapiro@steinbergshapiro.com




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